Case 2:08-cr-00122-GEB Document 86 Filed 05/24/11 Page 1 of 42
Case 2:08-cr-00122-GEB Document 86 Filed 05/24/11 Page 2 of 42
Case 2:08-cr-00122-GEB Document 86 Filed 05/24/11 Page 3 of 42
Case 2:08-cr-00122-GEB Document 86 Filed 05/24/11 Page 4 of 42
Case 2:08-cr-00122-GEB Document 86 Filed 05/24/11 Page 5 of 42
Case 2:08-cr-00122-GEB Document 86 Filed 05/24/11 Page 6 of 42
Case 2:08-cr-00122-GEB Document 86 Filed 05/24/11 Page 7 of 42
Case 2:08-cr-00122-GEB Document 86 Filed 05/24/11 Page 8 of 42
Case 2:08-cr-00122-GEB Document 86 Filed 05/24/11 Page 9 of 42
Case 2:08-cr-00122-GEB Document 86 Filed 05/24/11 Page 10 of 42
Case 2:08-cr-00122-GEB Document 86 Filed 05/24/11 Page 11 of 42
Case 2:08-cr-00122-GEB Document 86 Filed 05/24/11 Page 12 of 42
Case 2:08-cr-00122-GEB Document 86 Filed 05/24/11 Page 13 of 42
Case 2:08-cr-00122-GEB Document 86 Filed 05/24/11 Page 14 of 42
Case 2:08-cr-00122-GEB Document 86 Filed 05/24/11 Page 15 of 42
Case 2:08-cr-00122-GEB Document 86 Filed 05/24/11 Page 16 of 42
Case 2:08-cr-00122-GEB Document 86 Filed 05/24/11 Page 17 of 42
Case 2:08-cr-00122-GEB Document 86 Filed 05/24/11 Page 18 of 42
Case 2:08-cr-00122-GEB Document 86 Filed 05/24/11 Page 19 of 42
Case 2:08-cr-00122-GEB Document 86 Filed 05/24/11 Page 20 of 42
Case 2:08-cr-00122-GEB Document 86 Filed 05/24/11 Page 21 of 42
Case 2:08-cr-00122-GEB Document 86 Filed 05/24/11 Page 22 of 42
Case 2:08-cr-00122-GEB Document 86 Filed 05/24/11 Page 23 of 42
Case 2:08-cr-00122-GEB Document 86 Filed 05/24/11 Page 24 of 42
Case 2:08-cr-00122-GEB Document 86 Filed 05/24/11 Page 25 of 42
Case 2:08-cr-00122-GEB Document 86 Filed 05/24/11 Page 26 of 42
Case 2:08-cr-00122-GEB Document 86 Filed 05/24/11 Page 27 of 42
Case 2:08-cr-00122-GEB Document 86 Filed 05/24/11 Page 28 of 42
Case 2:08-cr-00122-GEB Document 86 Filed 05/24/11 Page 29 of 42
Case 2:08-cr-00122-GEB Document 86 Filed 05/24/11 Page 30 of 42
Case 2:08-cr-00122-GEB Document 86 Filed 05/24/11 Page 31 of 42
Case 2:08-cr-00122-GEB Document 86 Filed 05/24/11 Page 32 of 42
Case 2:08-cr-00122-GEB Document 86 Filed 05/24/11 Page 33 of 42
Case 2:08-cr-00122-GEB Document 86 Filed 05/24/11 Page 34 of 42
Case 2:08-cr-00122-GEB Document 86 Filed 05/24/11 Page 35 of 42
Case 2:08-cr-00122-GEB Document 86 Filed 05/24/11 Page 36 of 42
Case 2:08-cr-00122-GEB Document 86 Filed 05/24/11 Page 37 of 42
Case 2:08-cr-00122-GEB Document 86 Filed 05/24/11 Page 38 of 42
Case 2:08-cr-00122-GEB Document 86 Filed 05/24/11 Page 39 of 42
Case 2:08-cr-00122-GEB Document 86 Filed 05/24/11 Page 40 of 42
Case 2:08-cr-00122-GEB Document 86 Filed 05/24/11 Page 41 of 42
Case 2:08-cr-00122-GEB Document 86 Filed 05/24/11 Page 42 of 42
